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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

   RICHARD FELTZ, on behalf of himself and
   others similarly situated,

                     Plaintiffs,

         v.                                    Case No. 18-cv-0298-CVE-JFJ

   BOARD OF COUNTY COMMISSIONERS
   OF TULSA COUNTY, et al.,

                     Defendants.


      PLAINTIFF’S MOTION TO COMPEL COMPLIANCE WITH A SUBPOENA AND
                    OPENING BRIEF IN SUPPORT OF MOTION
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             Richard Feltz (“Plaintiff”), through counsel and pursuant to Federal Rules of Civil

   Procedure 45, on behalf of himself and others similarly situated, hereby moves the Court to

   compel the Administrative Director of the Oklahoma Court System (the “Director”) to comply

   with a subpoena served on her on October 15, 2020. In support of this motion, Plaintiff states as

   follow.

                                    PRELIMINARY STATEMENT

             This putative class action challenges the constitutionality of pretrial bail practices in

   Tulsa County, alleging that defendants systematically detain arrestees in violation of equal

   protection and due process, solely because of their inability to afford monetary bond amounts,

   and without due process-compliant hearings and individualized determinations that detention is

   necessary. As part of discovery in this case, Plaintiff sought data from the county, the sheriff,

   and the judicial defendants that is necessary to show that the current money bail system

   systematically strips putative class members of their liberty based on their access to wealth and

   hampers their ability to defend their criminal cases, all without serving the governmental

   interests that defendants claim. Specifically, Plaintiff seeks data reflecting the nature and timing

   of bail and pretrial detention determinations and their impact on later criminal case proceedings

   and outcomes, such as data showing: (1) when and how bond is imposed and changes over the

   course of criminal cases; (2) the relative criminal case outcomes for defendants who are and are

   not detained due to an inability to afford money bail; (3) how many defendants are detained

   because they are unable to afford bail and how long they spend in jail; and (4) the relative

   impact of money bail and other pretrial release conditions on failure to appear and re-offense

   rates.




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          During the course of extensive communications between counsel for Plaintiff and for the

   Director since the subpoena was served, the Director has raised several objections to the

   subpoena: (1) the subpoena requests information that is not relevant and/or proportional to the

   needs of the case because no class has been certified yet, and extraction and review of the data

   would be burdensome; (2) state law prohibits public distribution of the aggregated court data

   Plaintiff requested; and (3) sovereign immunity protects the Director from subpoena.

          The Director’s objections are without merit. First, the data that Plaintiff seeks is central

   to the case, and it is maintained in an active database from which it can be extracted with

   minimal burden. Second, state law does not shield documents from production in a federal civil

   rights lawsuit. And third, sovereign immunity is not a defense to compliance with a subpoena

   issued to a public official under Rule 45 of the Federal Rules of Civil Procedure.

          Plaintiff therefore seeks the Court’s intervention to compel the Director to produce the

   requested data pursuant to Rule 45(d)(2)(B)(i).

                                     PROCEDURAL POSTURE

          Plaintiff initially requested the production of relevant data from judicial defendants on

   June 2, 2020, and spent the ensuing months negotiating the scope of the original requests. In that

   time, plaintiff obtained substantial information about the form in which the data is maintained,

   and was able to narrow the original data request to one specifying the precise fields of relevant

   data that should be produced. After months of negotiation, the judicial defendants represented

   for the first time on October 6, 2020 that they could not produce the court data because it was

   maintained by, and would have to be requested from, the Office of Court Administration.1


   1      Plaintiff does not concede that judicial defendants do not have access to the requested
   data because Plaintiff lacks access to the information which would be necessary to make that
   determination. If the Director, who is part of the same judicial system and knows what
   information the judicial defendants have access to, can establish that the judicial defendants can
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          Plaintiff immediately prepared the instant subpoena, dated October 9, 2020 (the

   “Subpoena”), requesting relevant case data which is stored on computer systems under the

   Director’s control. A copy of the Subpoena is attached as Exhibit A. Following service of the

   subpoena on October 15, 2020, Plaintiff engaged in extensive communications with counsel for

   the Director regarding Plaintiff’s need for the requested information and the Director’s

   objections to its production. Between October 30 and November 20, the parties continuously

   conferred by telephone and email in an effort to identify a mutually agreeable response to the

   subpoena. Plaintiff and the Director ultimately agreed that court intervention was necessary. At

   the conclusion the parties’ most recent telephone conference on Friday afternoon, November 20,

   Plaintiff’s counsel clearly stated an intent to file a motion to compel in this Court this week;

   counsel for the Director indicated support for that approach in light of the parties’ differences.2

          However, on Monday morning, November 23, without providing any notice to Plaintiff,

   the Director filed a motion to quash the Subpoena in the United States District Court for the

   Western District of Oklahoma. See Mot. to Quash, Feltz v. Tulsa County, Case No. 5:20-mc-12-

   SLP (W.D. Okla. Nov. 23, 2020), ECF No. 1 at 1-2, attached as Exhibit B. In the motion to

   quash, the Director provided no justification for initiating a new action in a different jurisdiction,

   where the court not only is unfamiliar with the matters at issue in this litigation, but, under the

   Federal Rules of Civil Procedure, has no jurisdiction to resolve the parties’ dispute. Only this

   court has that authority. Under Rule 45(d)(3), only “the court for the district where compliance

   is required” may quash a subpoena. Fed. R. Civ. P. 45(d)(3)(A) & (B). In this Circuit,

   “compliance is required” with a subpoena for the production of documents in the place for

   provide Plaintiff with the requested information, then the judicial defendants should be
   compelled to produce the discovery instead.
   2
          Given the parties’ extensive but ultimately unsuccessful attempt to negotiate a mutually
   agreeable response to the subpoena, Plaintiff’s counsel certifies under Local Rule 37.1 that a
   good faith effort has been made to resolve the discovery matters at issue.
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    production listed on the subpoena. RSUI Indem. Co. v. Nat'l Rifle Ass'n of Am., No. MC-20-6-D,

    2020 WL 4194526, at *1 (W.D. Okla. July 21, 2020); see also Vermeer Mfg. Co. v. Toro Co.,

    No. CIV-19-855-D, 2020 WL 1236312, at *2 (W.D. Okla. Mar. 13, 2020) (subpoena calling for

    production and testimony in Oklahoma City had a place of compliance in the Western District of

    Oklahoma); Adams v. Symetra Life Ins. Co., No. 19-MC-401-EFM-ADM, 2020 WL 489523, at

    *2 (D. Kan. Jan. 28, 2020) (finding and concurring with strong majority authority that place of

    compliance means location where compliance is listed in subpoena). In this case, that place for

    compliance is the offices of counsel for Plaintiff, Still She Rises, located at 567 East 36th Street

    North, in Tulsa, which is located in the Northern District.

           On Monday afternoon, November 23, Plaintiff’s counsel emailed counsel for the Director

    explaining this jurisdictional flaw and urging him to withdraw the Western District motion and

    litigate the issue in this Court, so as not to waste the resources of the parties and the courts.

    Plaintiff’s counsel has received no response. Plaintiff will therefore move as quickly as possible

    to dismiss the Western District action, or transfer the motion to this Court. In the interests of

    time, Plaintiff also submits this motion to compel, as the parties originally discussed. Fact

    discovery is scheduled to end in this case on January 11, 2021, and Plaintiff’s expert reports, for

    which this data is needed, are due on February 12, 2021. Awaiting a ruling from the Western

    District dismissing or transferring the motion to quash could add months before the merits of the

    Plaintiff’s and Director’s dispute are addressed, delaying the underlying litigation. Plaintiff

    therefore submits this motion to compel while simultaneously moving to dismiss or transfer the

    motion to quash in the Western District of Oklahoma.

               COMPLIANCE WITH RULE 45’S GEOGRAPHICAL LIMITAIONS




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           The Director’s motion to quash filed in the Western District asserts a meritless argument

    never once raised with Plaintiff’s counsel during their weeks of communication: that it requires

    production of documents more than 100 miles away from her place of business. The 100-mile

    language found in Rule 45(c)(2)(A) does not apply to requests for production where the

    custodian is not required to produce documents in person. See Premier Election Solutions, Inc.

    v. Systet Labs, Inc., No. 09-CV-01822-WDM-KMT, 2009 WL 3075597, at *3 (D. Colo. Sept.

    22, 2009); see also Watts Constructors, LLC v. Boneso Bros. Constr., Inc., No. 20-MC-00211-

    EFM, 2020 WL 6544590, at *2 (D. Kan. Nov. 6, 2020). In any event, Still She Rises, the place

    designated for production, is within 100 miles of the Director’s office as well as her counsel’s

    office, as demonstrated by the maps attached as Exhibit C. When the 100-mile rule applies, 100

    miles is appropriately measured “by a straight line on a map.” Cook v. Atchison, Topeka &

    Santa Fe Ry. Co., 816 F. Supp. 667, 669 (D. Kan. 1993); see also, e.g., Tsosie v. United States,

    No. 13 CV 132 JAP/LFG, 2013 WL 12136383, at *4 (D.N.M. July 17, 2013); Maine Cmty.

    Health Options v. Walgreen Co., No. 18-MC-0009, 2018 WL 6696042, at * 3 (W.D. Wis. Dec.

    20, 2018); Weerheim v. JR Simplot Co., No. CV-05-20-E-BLW, 2007 WL 2121925, at *1 (D.

    Idaho Jul. 23, 2007); SCM Corp. v. Xerox Corp., 76 F.R.D. 214, 215 (D. Conn. 1977).

                                             ARGUMENT

           The Director should be compelled to produce the data responsive to the Subpoena

    because the data is central to Plaintiff’s claims, the production of data is not unduly burdensome,

    and the Director’s objections are without merit.

      I.   Legal Standard
           Federal Rule of Civil Procedure 45 permits a party to seek documents from non-parties to

    the extent they are relevant and do not place an undue burden on the non-party. “Subpoenas are

    also governed by Rule 26's limits on scope of discovery. Rule 26 limits discovery to any non-


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    privileged matter that is relevant to the claim or defense of any party.” Morgan v. Ramsey, No.

    11-CV-451-TCK-PJC, 2012 WL 12837281, at *2 (N.D. Okla. Oct. 26, 2012) (internal citations

    omitted). Relevancy is “broadly construed,” and “[a] discovery request should be allowed unless

    it is clear that the information sought can have no possible bearing on the claim or defense of a

    party.” Id. at *3 (internal citations and quotations omitted). When the evidence sought by a

    subpoena “appears relevant,” the burden is on the opposing party to establish the lack of

    relevance. Id. Objections to subpoenas must be stated specifically—“a mere recitation of the

    familiar litany of overly broad, vague or burdensome, is not sufficient.” Id. These standards

    apply to any objection to the production of documents under Rule 45 “whether in the guise of a

    motion to quash, a motion to compel, or an objection.” Oklahoma ex rel. Edmondson v. Tyson

    Foods, Inc., No. 05-CV-329-TCK-SAJ, 2006 WL 8430477, at *2 (N.D. Okla. May 31, 2006).

             Critically, federal law, not state law, governs disputes over discovery in federal question

    cases.    See Lehman v. Kornblau, 206 F.R.D. 345, 348 (E.D.N.Y. 2001) (“[I]t should be

    emphasized that . . . [s]tate law does not govern discoverability and confidentiality in federal

    civil rights actions, and state privacy rules should never be permitted to frustrate the important

    federal interests in broad discovery and truth-seeking and the interest in vindicating important

    federal substantive policy such as that embodied in section 1983.”); see also Kerr v. U.S. Dist.

    Court for N. Dist. of California, 511 F.2d 192, 197 (9th Cir. 1975), aff'd, 426 U.S. 394 (1976) (in

    federal question cases “[t]he state's interest is that of a litigant, and not, as in diversity cases, that

    of a sovereign whose law is being applied in a foreign forum”); United States v. Hudson, No.

    CRIM.A. No. 13-20063-01-JWL, 2013 WL 4768084, at *1 (D. Kan. Sept. 5, 2013) (noting

    “federal common law” resolves privilege questions in federal cases and collecting cases finding

    state open records acts do not control federal discovery).



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        II.   The Data Plaintiff Seeks Is Relevant and Proportional to the Needs of the Case.
              The discovery Plaintiff seeks is relevant and proportional to the needs of the case.

    Federal Rule of Civil Procedure 26(b)(1), which also applies to subpoenas under Rule 45, states

    that discovery requests must be “proportional to the needs of the case, considering the

    importance of the issues at stake in the action, the amount in controversy, the parties’ relative

    access to relevant information, the parties' resources, the importance of the discovery in

    resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

    likely benefit.” Plaintiff has worked extensively to ensure that he has requested only the data he

    needs, in a form that is available and reasonably accessible to the Director.

              A.     The Data Is Central to Plaintiff’s Case.

              The information requested by Plaintiff is not only relevant but crucial to Plaintiff’s claims

    that pretrial procedures in Tulsa County systematically violate putative class members’ equal

    protection and due process rights.3 Because “both significant public policy and personal rights

    are at stake,” and the personal rights at stake involve the loss of liberty—“a highly protected

    right in the American legal system”—Plaintiff’s interest in obtaining the information is “of the

    utmost importance,” and a factor that “strongly weighs in favor” of production. CCA Recordings

    2255 Litig. v. United States, No. 19-CV-2491-JAR, 2020 WL 4284222, at *3 (D. Kan. July 27,

    2020).

              In order to prove wide-spread harm and support each of his claims, Plaintiff needs data

    regarding all arrests, pretrial detention times and conditions, and criminal case events and

    outcomes over the relevant discovery period, as outlined in the subpoena.               For example,

    Plaintiff’s equal protection claim turns on establishing that defendants routinely jail people solely

    on money bond, and that they do so without a sufficiently compelling interest to overcome
    3
           Plaintiff also alleged that Tulsa County is systematically violating the putative class’s
    Sixth Amendment rights. The Court dismissed this claim, so Plaintiff does not address it here.
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    putative class members’ injuries. Defendants claim that money bail is necessary to ensure return

    to court and public safety. The data will allow Plaintiff to test this defense by conducting a

    statistical analysis to assess whether money bail does in fact lead to lower failure to appear and

    re-offense rates among similarly situated individuals. Conversely, Plaintiff is entitled to the data

    to prove the extent of harm to putative class members who are detained illegally, including the

    impact that initial pre-trial detention has on case outcomes, like rates of dismissal and post-

    conviction incarceration.    The data is also central to Plaintiffs’ due process claims—and

    defendants’ defense that they have cured all due process violations—as it will show the lack of

    individualized consideration of bail amounts and the degree to which people are detained despite

    the absence of judicial findings that detention serves a valuable purpose. For example, anecdotal

    evidence already in the record indicates—and the data is needed to show—that people are

    systematically detained because of uniform, non-individualized bond amounts, that the creation

    of a bond docket in October 2018 for the ostensible purpose of individualized bail hearings has

    left the vast majority of pre-set bond amounts unchanged, that many people never appear for

    bond hearings or do so only after delay, and that a substantial number of people are eventually

    released on findings that their detention is not necessary, but only after they have spent multiple

    days, if not weeks, unconstitutionally detained.

           Indeed, federal courts considering similar claims have often relied on expert witness

    analysis of exactly this kind of data. See Schultz v. State, 330 F. Supp. 3d 1344, 1364-65 (N.D.

    Ala. 2018) (discussing expert data analysis and underlying data to find money bail system

    arbitrary and unreasonable); ODonnell v. Harris Cty., Texas, 251 F. Supp. 3d 1052, 1096-96,

    1105-06 (S.D. Tex. 2017), aff'd as modified, 882 F.3d 528 (5th Cir. 2018), and aff'd as modified

    sub nom. ODonnell v. Harris Cty., 892 F.3d 147 (5th Cir. 2018) (discussing use of court



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    administrative data to show deficiencies of county money bail system and impact of money bail

    system on detainees).

           The Director claims the data is not relevant or is too broad for an individual claim where

    the class has not been certified yet, and suggests that only data pertaining to Mr. Feltz is relevant

    at present. But Mr. Feltz’s claims are not limited to his personal experience; the only question at

    issue in this suit is whether defendants routinely violate arrestees’ rights. “The mere fact that the

    class in this case is only a putative class does not justify denying discovery. A request is not

    overly broad and unduly burdensome merely because a class action has not yet been certified.”

    Halvorsen v. Credit Adjustments Inc., No. 15-CV-6228, 2016 WL 1446219, at *2 (N.D. Ill. Apr.

    11, 2016). Whether the class should be certified turns substantially on whether Defendants

    continue to engage in systemic equal protection and due process violations similar to those that

    injured Mr. Feltz. Because the discovery relevant to the merits and class certification questions

    in this case are so closely related, the Court has not bifurcated merits and class certification

    discovery. ECF No. 183, at 4 (“There is no dispute this was a global discovery period governing

    all class certification and merits issues.”). The data plaintiff requests is central to answering both

    questions.   Indeed, the court has already held that data pertaining to defendants’ pretrial

    detention policies, as applied to all putative class members and not just Mr. Feltz, is relevant and

    an appropriate subject of discovery pending resolution of the class certification motion. ECF No.

    183, at 14-15.

           B.        Alternative Sources of Adequate Data Do Not Exist.

           Given the judicial defendants’ representation that they cannot access the data requested,

    no source other than the Director is available to provide the information Plaintiff requires. In

    response to the subpoena, the Director has argued that Plaintiff can forgo aggregate data and rely



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    instead on a set of docket sheets already produced in PDF form by Judicial Defendants, and case

    records available on the Oklahoma State Courts Network (“OSCN”), the Oklahoma courts’

    public website, but both options are insufficient because they do not allow access to data suitable

    for statistical analysis. The offer incomplete information about limited numbers of cases, stored

    in a form that makes data extremely difficult to extract.

           The relevant PDFs were produced by the judicial defendants in discovery. When Plaintiff

    initially requested court data from the judicial defendants, and despite his request for electronic

    data, they turned over a sample of “NF” docket sheets in PDF form, essentially printouts from

    the court records database. NF, or not-filed, dockets are created when a judicial event occurs

    before a case is charged; they therefore contain the minutes for bond docket proceedings in all

    cases where bond docket occurs before the District Attorney has filed charges. They are not

    publicly available.

           The PDFs produced represent only a small portion of cases, and they provide information

    about only the most preliminary proceedings. Even if data in the PDFs could be usefully

    extracted, but see infra at __, the NF dockets can tell Plaintiff nothing about the downstream

    effects of money-bail even in the individual cases represented in the sample. They offer no

    insight into whether money bail improves appearance or re-offense rates, as defendants claim, or

    into the relative costs of detention on money bail, including higher conviction rates and longer

    sentences. Plaintiff cannot fill the enormous gaps left by the PDF documents using public court

    records because (1) the missing NF documents are not available to the public at all, and (2) for

    the later stages of arrestees’ cases, the court’s website, OSCN, will list only 500 cases total at

    any given time, and a link to each docket sheet must be clicked and every docket sheet

    individually examined. Given that over 10,000 criminal cases were filed in Tulsa County just



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    last year, and the discovery period is approximately two-and-a-half-years long, searching

    manually through dockets in this way will not feasibly allow Plaintiff to access the information

    he needs. Indeed, this limited access was the very reason the judicial defendants gave for their

    own inability to comply with Plaintiff’s discovery request, and the need to subpoena the

    Director, who, they claim, is the only party with reasonable access to the complete data.

            Moreover, possessing a limited number of PDF NF dockets and electronic case files is

    useless to Plaintiff unless he can extract usable data from those resources to run statistical

    analyses. PDFs are difficult to scrape for raw data, and any scraping technique would be prone to

    create errors in the data that would require extensive efforts to correct or else potentially corrupt

    any analysis based on the scraped data. PDFs have been created by taking data from a database,

    where they are often in a form using various codes and turning them into words on a page. This

    means that Plaintiff would not only have to scrape the PDFs for the words on the page, but also

    guess at and recreate the coding used by the database from scratch for the data to be useful.

    Rather than extracting the data directly from the database as it is presently structured, Plaintiff

    would be working backwards to try to reconstruct the database that the Director already has.

           Using OSCN data would similarly require either copying words into a data set one at a

    time or writing a computer program to pull data form each case on the site to recreate an

    approximation of the Director’s data, either of which would be extremely time consuming and

    generate the same workload problems and errors.

           C.      Plaintiff’s Request Poses no Undue Burden on the Director.

           Plaintiff has worked for months to ensure that he is requesting data in as specific and

    accessible a form as possible. When Plaintiff initially requested the data from the judicial

    defendants, Plaintiff did not know what data the court maintained or in what form it was stored,



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    so the requests were phrased in terms of the matters that Plaintiff intended to prove, rather than

    the items of data required to prove them. See Pl.’s Second Req. for the Produc. of Docs., Req.

    30, attached as Exhibit D. Since then, however, Plaintiff has met and conferred multiple times,

    first with the judicial defendants and then with the Director, to understand exactly what data is

    kept and the Director’s capabilities to produce it. Before counsel for the judicial defendants

    represented in October that they have no access to the data, they walked Plaintiff’s counsel

    through a multipage PDF and sample pages from the judicial database to show what data fields

    the judicial defendants have access to.      Following this meeting, Plaintiff distilled his data

    requests to identify the precise fields in the court’s database that contain information relevant to

    his claims. Plaintiff has continued the conversation with the Director, in an effort to understand

    exactly how the relevant data is stored and the tools available for its extraction. During this time,

    Plaintiff repeatedly requested non-conclusory explanations for the Director’s claim that a data

    pull would require substantial effort but received no information about specific factors that

    would make production unusually difficult. The data requested is readily accessible.

            “Whether electronic data is accessible or not generally turns on the type of medium on

    which it is stored.” United States ex rel. Sanchez v. AHS Tulsa Regional Medical Ctr. LLC, Case

    No. 05-CV-442-TCK-PJC, 2010 WL 11693225 at *3 (N.D. Okla. Aug. 6 2010) (citing Zubulake

    v. UBS Warburg LLC, 217 F.R.D. 309, 323 (S.D.N.Y. 2003)). This Court in Sanchez described

    the five most common types of media, “ranging from most accessible to least accessible” as “(1)

    active, online data; (2) near-line data; (3) offline storage/archives; (4) backup tapes; and (5)

    erased fragmented or damaged data.” Id.         The first three categories are considered to be

    “accessible” and thus presumed to be producible because “[a]lthough the time it takes to actually




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    access the data ranges from milliseconds to days, the data does not need to be restored or

    otherwise manipulated to be usable.” Zubulake, 217 F.R.D. at 320.

           Given the nature of the databases used by the Director, the data Plaintiff seeks falls into

    the first category of information. Active online data is defined as data “used in the very active

    stages of an electronic records[‘] life—when it is being created or received and processed, as

    well as when the access frequency is high and the required speed of access is very

    fast, i.e., milliseconds.” Zubulake, 217 F.R.D. at 318. This is so because the Director uses what

    is called an SQL database for its backend architecture and further enhances retrieval using a

    piece of software called dtSearch Engine for interactions between the database and the OSCN

    website. Decl. of Michael Kearney, dated November 25, 2020 (the “Kearney Decl.”), at ¶ 6.

    “Most database engines, even those that do not have sophisticated reporting functionality,

    support exporting database information into either text delimited files or fielded tables.” The

    Sedona Conference, Database Principles: Addressing the Preservation and Production of

    Databases and Database Information on Civil Litigation, 15 SEDONA CONF. J. 171, 198 (2014),

    https://thesedonaconference.org/publication/ Database Principles. SQL databases in particular

    were designed to enable rapid data queries and manipulation and for the express purpose of

    accessing multiple records with single commands. dtSearch is software that specializes in text

    retrieval and facilitates the retrieval of information from databases. Kearney Decl. at ¶¶ 6-7. The

    Director also likely has the capacity to run data pulls using other scripting languages, including

    Python. Kearney Decl. at ¶ 8. Python is a programming language widely used within many

    organizations, such as Google, and enables programmers to access, copy, and obtain information

    about data sets using relatively simple instructions. Id. Pulling requested data from an SQL

    database using such options as SQL queries, dtSearch, and other scripting languages like Python



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    is not a difficult or time-consuming task for an employee knowledgeable about the system.

    Kearney Decl. at ¶ 9. Absent additional factors which the Director has never mentioned to

    Plaintiff, it should take a knowledgeable employee no more than a few hours to write a script to

    pull the data. Id. It appears that the Director has such employees. Kearney Decl. at ¶ 11.

    Finally, the Director has confirmed she has the technological capacity to transfer the requested

    data, once identified, to a hard drive for production. Kearney Decl. at ¶ 13.

           The Director has expressed concerns about the need to redact certain sensitive

    information like social security numbers and credit card numbers, but there is no reason to

    believe that such information is likely to be included in the columns of data requested by

    Plaintiff, and any stray information can be addressed with a protective order. Plaintiff has

    requested only data pertaining to basic case information like parties, charges, and judges; dates

    of key events like filing and various appearances; and docket entry information. The Director

    has confirmed that the database is already designed to exclude sensitive information from the

    records, which are generally prepared so that they may appear on the public-facing OSCN, but

    expressed concern that sensitive information is sometimes “inadvertently” included in the data

    fields requested.

           The possibility that the requested data contains stray pieces of sensitive information does

    not make the production disproportionate. Attorneys handle that kind of data all the time as

    officers of the court. The proper way to handle such information is through a protective order,

    not an objection to proportionality based on a need to review to ensure that information is

    redacted before production. See Lessley v. City of Madison, Ind., No. 4:07-CV-136-DFH-WGH,

    2009 WL 500515, at *4 (S.D. Ind. Feb. 27, 2009) (protective order adequately covered defendant

    police officers’ privacy concerns about production of documents which could contain their social



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    security number); Club v. Two Elk Generation Partners, Ltd. P'ship, No. 09-CV-022-D, 2009

    WL 10677070, at *3 (D. Wyo. Apr. 20, 2009) (protective order provided necessary protection

    for sensitive data); St. Clair v. Washington, No. C05-341JLR, 2006 WL 8454842, at *2 (W.D.

    Wash. Jan. 30, 2006) (protective order is solution to privacy concern for records purportedly

    shielded by inapplicable state open records act). Plaintiff is not opposed to entering a carefully

    drafted, agreed-upon protective order to assuage any concerns the Director has regarding

    production of potentially sensitive data.

           The Director actively maintains data that is relevant and, in fact, central to Plaintiff’s

    case. While there may be some minor burden in pulling data from a large database, the Director

    has failed to offer a non-conclusory reason to Plaintiff as to why the burden would be substantial,

    let alone undue in light of Plaintiff’s need and lack of alternative, feasible methods for obtaining

    the information that is centrally important to litigating a question of major public policy and the

    constitutional rights of thousands.

    III.   State Law Provides No Shield Against Discovery in Federal Question Cases.

           The Director claims that an Oklahoma Supreme Court administrative rule governing the

    form in which data may be provided to the public prohibits it from producing data that is both

    discoverable under the Federal Rules of Civil Procedure, and deemed public records under the

    state’s Open Records Act. Okla. Stat. Ann. tit. 51 §§ 24A.1-24A.29. While state open records

    laws and state supreme court rules alike require that electronic court records be made available to

    the public, Okla. Stat. Ann. tit. 51 §§ 24A.3, 24.A5; In the Matter of Pub. Access to Elec. Case

    Info., 271 P.3d 775 (Mem) (Okla. 2009) (the “Administrative Order”), court rules prohibit the

    “bulk distribution” of court records to the public. Administrative Order, 271 P.3d 775. The

    Oklahoma Supreme Court’s administrative directive does not permit the Director to shield highly



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    relevant, public evidence from federal court litigants—especially where the administrative

    limitation is intended to protect criminal defendants, like putative class members, who are

    seeking this information about themselves.

           State law does not create privileges against discovery in federal cases. See Kerr, 511

    F.2d 197 (finding the purpose of a freedom of information law “was to expand the access of the

    public to official records” and did not create a privilege for the requested documents); Jackson v.

    Cnty. of Sacramento, 175 F.R.D. 653, 654-55 (E.D. Ca. 1997) (finding that the California Public

    Records Act did not create a litigation privilege); Mason v. Stock, 869 F. Supp. 828, 832 (D.

    Kan. 1994) (“[I]n federal question cases, privilege determinations depend solely on the

    application of federal statutes and general principles of common law as interpreted by federal

    courts.”) (emphasis in original). Even state constitutions have been found to fall short of creating

    disclosure privileges in federal court. See e.g., Gottlieb v. Wiles, 143 F.R.D. 235, 237 (D. Colo.

    1992) (“To the extent that Cal. Const., art. 1, sec. 1 creates a state privilege against disclosure, it

    would not be entitled to legal recognition in a federal question case pending in federal court.”).

    And critical to the Court’s analysis here, “in cases involving alleged civil rights violations by

    local governmental entities, federal courts must be particularly wary of privileges or other

    discovery impediments created by state lawmakers. . . . It obviously would make no sense to

    permit state law to determine what evidence is discoverable in cases brought pursuant to federal

    statutes whose central purpose is to protect citizens from abuses of power by state or local

    authorities.” Mason, 869 F. Supp. at 832.

           That the Oklahoma Supreme Court purports to shield bulk data from access by the

    general public does not mean that it may shield such data from litigants. Courts across the

    country have confirmed that documents protected from disclosure to the general public under



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    state open records laws are not, as a result, shielded from discovery in a federal lawsuit. See e.g.,

    Lessley, 2009 WL 500515, at *4-5 (state disclosure law did not prohibit federal discovery); Club,

    2009 WL 1067707, at *2 (“The fact that certain documents may not be open to inspection under

    a state open records act does not automatically blanket those documents with certain protections

    which are beyond the reach of the procedures contained in civil litigation discovery rules.”); St.

    Clair, 2006 WL 8454842 (collecting cases).

           The Administrative Order does not even purport to shield documents from public

    disclosure, let alone discovery in a lawsuit. The Administrative Order applies only to the form in

    which the public may have “access to electronic case information of the district courts.”

    Administrative Order, 271 P.3d 775. Public access is defined as “the process whereby a person

    may inspect and copy electronic case information concerning a particular court case via the

    internet through the Oklahoma State Courts Network at oscn.net or KellPro's On Demand Court

    Records at odcr.com.” Id. But Plaintiff is not seeking to use the internet to view particular court

    cases for inspection and copying; he seeks data regarding the putative class he represents

    pursuant to a subpoena for state records. Even if the Administrative Order applied on its face, it

    could not limit discovery access here; state and local laws which govern general public access

    generally do not apply to limit discovery in civil litigation. See United States v. Hudson, No.

    CRIM.A. 13-20063-01-JWL, 2013 WL 4768084, at *6 (D. Kan. Sept. 5, 2013) (citing Tighe v.

    Honolulu, 520 P.2d 1345, 1348 (Haw. 1974) for the proposition that “broad discovery granted to

    litigants under civil rules cannot be said to be limited by terms of charter provision directed

    toward regulation of entirely different situation of general exploration of public records by

    citizen during general business hours.”); Club, 2009 WL 10677070, at *2.                 Due to its




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    inapplicability, the Administrative Order poses no legitimate reason for objecting to the

    subpoena.

            The Director’s arguments that state law would create categories of data they could not

    produce or that complying with these state laws would increase the effort needed to produce the

    data fall flat.

    IV.     Sovereign Immunity Does Not Shield States from Compliance with Third-Party
            Subpoenas.

            The Director’s reliance on sovereign immunity to avoid production is misplaced.

    Sovereign immunity protects the state from suit. Rule 45 allows parties to command any

    “person” to produce documents, Fed. R. Civ. P. 45(a)(1)(A)(iii), and Plaintiff has subpoenaed

    the person of the Director. The Director’s invocation of sovereign immunity suggests that,

    because the Director has been subpoenaed in her official capacity, the subpoena should be

    treated as a subpoena against the state, but “[t]he state cannot . . . impart to the official immunity

    from responsibility to the supreme authority of the United States.” Ex parte Young, 209 U.S. 123,

    167 (1908). An action against a state official is considered suit against the state only if its aim is

    “to obtain an injunction requiring the payment of funds from the State’s treasury, or an order for

    specific performance of a State’s contract.” Virginia Off. for Prot. & Advocacy v. Stewart, 563

    U.S. 247, 256-267 (2011) (citing Edelman v. Jordan, 415 U.S. 651, 666-667 (1974)). That is not

    the case here.

            The Tenth Circuit has accordingly noted that, “under Ex parte Young . . . neither a state

    nor a tribe would appear to be immune from a discovery request served on the appropriate

    agency official,” even as it left open the question of whether a subpoena against a state agency

    implicates the Eleventh Amendment. Bonnet v. Harvest Holdings Inc., 741 F.3d 1155, 1162 n.1

    (10th Cir. 2014) (emphasis added); see also Univ. of Texas at Austin v. Vratil, 96 F.3d 1337,


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    1340 (10th Cir. 1996) (noting in dicta support in case law for the proposition that “the Eleventh

    Amendment does not shield nonparty state entities from discovery,” where Rule 45 “specifically

    provides a procedure applicable to nonparties”); see also Ott v. City of Milwaukee, 682 F.3d 552,

    556 (7th Cir. 2012) (holding a subpoena can issue against a state agency, because a plaintiff

    “could have demanded the same documents by issuing a subpoena to the correct employee in

    each agency”).

           Virtually every court to consider the issue has found that the Eleventh Amendment does

    not provide state officials with immunity against non-party subpoenas. Id. at 556 (“No state

    sovereign immunity issues are triggered by this subpoena because no ultimate relief is being

    sought from [the state].”); Barnes v. Black, 544 F.3d 807, 812 (7th Cir. 2008) (“[A]n order

    commanding a state official who is not a party to a case between private persons to produce

    documents in the state's possession during the discovery phase of the case . . . because they do

    not compromise state sovereignty to a significant degree, do not violate the Eleventh

    Amendment.”); In re Missouri Dept. of Nat. Res., 105 F.3d 434, 436 (8th Cir. 1997) (“There is

    simply no authority for the position that the Eleventh Amendment shields government entities

    from discovery in federal court.”); see also Charleston Waterkeeper v. Frontier Logistics, L.P.,

    No. 2:20-CV-1089-DCN, 2020 WL 5629717, at *6 (D.S.C. Sept. 21, 2020); Ali v. Carnegie Inst.

    of Washington, 306 F.R.D. 20, 30 n.8 (D.D.C. 2014), aff'd, 684 F. App'x 985 (Fed. Cir. 2017),

    and aff'd, 684 F. App'x 985 (Fed. Cir. 2017); Wilson v. Venture Fin. Grp., Inc., No. C09-

    5768BHS, 2010 WL 4512803, at *1 (W.D. Wash. Nov. 2, 2010); Arista Records LLC v. Does 1-

    14, No. 7:08CV00205, 2008 WL 5350246, at *4 (W.D. Va. Dec. 22, 2008); Allen v. Woodford,

    543 F. Supp. 2d 1138, 1145 (E.D. Cal. 2008); Jackson v. AFSCME Local 196, No. CIV.

    3:07CV0471 (JCH), 2008 WL 1848900, at *3 (D. Conn. Apr. 25, 2008).



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           State sovereign immunity does not permit a state official to avoid answering non-party

    subpoenas served under Federal Rule of Civil Procedure 45.

                                            CONCLUSION

           For the foregoing reason, Plaintiff respectfully requests that this Court (1) grant his

    Motion to Compel; (2) order Defendants to provide the information requested in the Subpoena

    no later than two weeks after issuance of the Court's order granting the Motion to Compel; and

    (3) grant any other relief that the Court may deem appropriate.



    Dated: November 25, 2020

                                                                Respectfully submitted,

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